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IN THE UNITED sTATEs I)ISTRICT CoURT ra;;;_; nga ;'g-.
FoR THE WEsTERN DIsTRICT oF TENNESSEE ' "
WESTERN DIVISION

 

 

KEENA WELLS and GENARD WELLS,

Plaintiffs,
No. 2:04-cV-03033 Ma/P

VS.

BARLOWORLD TRUCK CENTER, INC.
a.k.a. BARLOWORLD FREIGHTLINER,
iNC.,

\-/\_/\.,/\_/\n./\_/v\/\-J\-J\_/

Defendant.

 

ORDER GRANTING DEFENDAN'I"S MOTION TO
EXTEND TIME TO ANSWER COMPLAINT

 

This matter is before the Court on Defendant’s motion for an Order extending the time
for Dei"endant to file an Answer in this cause or otherwise respond to the Comp]aint by an
additional thirty (30) days. Plaintiff does not object to the requested relief. Based on the
foregoing, the Court is persuaded that the Motion is Well-taken and should be grantedl lt is
therefore ORDERED, DECREED, and ADJUDGED that Defendants shall have up to and
including May 27, 2004 in Which to file an AnsWer in this cause or otherwise respond to the

Complaint.

so oRDERED this the §§ day of B{fv~"\ 2005.

Honorable SeimxerHT'Bv{~ays,-*Jr. '¢"\... M..'P kp.-`
United States Bisaniet-Coui=t-Judge

M»NM

 

  

Case 2:04-cv-03033-SH|\/|-tmp Document 10 Filed 04/25/05 Page 2 of 3 Page|D 21

SUBMITTED BY:

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By:

 

Léuts P. Bria (#5613)
Keith R. Thomas (#18928)

Attorneys for Defendants

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing pleading has been served upon Mr. Dee
Shawn Peoples, 130 North Main, Ste. 2909, Memphis, Tennessee 38103, by U.S. Mail, postage

prepaid, this Z?/" dayof _¢"-‘_\p£.\ 2005.

 

/Keith R. Thornas

MEMPH]S'.152234,]

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

